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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------x
UNITED STATES OF AMERICA,                                       :
                                                                :
                           -against-                            :
                                                                :
YEVSEY LEKHTMAN,                                                :    MEMORANDUM & ORDER
         also known as                                          :
         “Eugene Lekhtman,”                                     :         08-CR-508 (DLI)
SIMON BENIMETSKY,                                               :
ROMAN DUDKIN, AND                                               :
YELENA RAYKHMAN,                                                :
         also known as                                          :
         “Yelena Lekhtman,”                                     :
                                                                :
                                    Defendants.                 :
-----------------------------------------------------------------x
DORA L. IRIZARRY, United States District Judge:

        On August 14, 2008, defendants Yevsey Lekhtman, Simon Benimetsky,1 Roman Dudkin

and Yelena Raykhman were named in a five-count superseding indictment (“Indictment”),2

charging: (1) conspiracy to embezzle, steal and obtain by fraud and materially false statements

funds provided and insured under Subchapter IV of Title 20 of the United States Code, in

violation of 20 U.S.C. § 1097(a) (“student aid fraud conspiracy”); (2) a substantive count of

fraud in violation of 20 U.S.C. § 1097(a) (“student aid fraud”); (3) theft of public money from

the United States Department of Education (“DOE”) in violation of 18 U.S.C. § 641 (“theft of

DOE funds”); (4) conspiracy to obtain visas by submitting false documents to the Immigration

and Naturalization Service and Department of Labor (“DOL”) in violation of 18 U.S.C. § 1546

(“visa fraud conspiracy”); and (5) theft of public money from the United States Department of

Labor, in violation of 18 U.S.C. § 641 (“theft of DOL funds”). Defendants Lekhtman,

        1
            Defendant Benimetsky remains a fugitive from justice.
        2
         The original indictment identified Benimetsky as “Lyubov Benimetskaya.” The
superseding indictment identifies the Benimetsky solely as “Simon Benimetsky.”
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Raykhman, and Dudkin were charged in counts one through three; Lekhtman, Dudkin, and

Benimetsky were charged in count four; and Lekhtman and Raykhman were charged in count

five.

        On September 8, 2009, Lekhtman and Raykhman filed an Omnibus Pre-trial Motion

(“Omnibus Motion”) requesting that the court: (1) suppress all evidence seized pursuant to the

execution of a DOL search warrant (“2003 DOL warrant”) or, in the alternative, order disclosure

of all student academic, attendance, financial aid, and enrollment records (“student records”)

seized thereunder; (2) suppress all evidence seized pursuant to the execution of a DOE search

warrant (“2004 DOE warrant”) or, in the alternative, order disclosure of all the student records

seized thereunder; (3) compel the government to provide defendants with a bill of particulars; (4)

compel the government to produce all evidence favorable to the defense pursuant to Brady v.

Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972); (5) suppress any

hearsay statements of non-testifying co-defendants that incriminate them pursuant to Bruton v.

United States, 391 U.S. 123 (1968), or, in the alternative, sever co-defendant Dudkin from this

case; and (6) sever the visa fraud conspiracy count of the Indictment or, in the alterative, sever

Raykhman from this case.

        On November 17, 2009, the court heard oral argument on the Omnibus Motion and made

the following rulings on the record: (1) the court, in large part, denied the defendants’ request for

a bill of particulars, and granted it, in part by directing the government to provide the defendants,

on a rolling basis, with a list of students whose financial aid applications and/or disbursements

underlie the allegations the government will seek to prove at trial; (2) regarding Brady, the

government was: (a) ordered to turn over the interview notes of the four students who had

previously been identified as providing information arguably favorable to the defendants, (b)



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reminded that Brady material is to be turned over as it is discovered, and (c) ordered to turn over

Giglio material within its possession two weeks before the commencement of trial; and (3) in

order to address any potential Bruton concerns, the government was directed to submit with its

forthcoming motions in limine a redacted version of co-defendant Dudkin’s statements that it

will seek to introduce at trial.

        The issues that remain ripe for the court’s consideration are: (1) whether the items seized

pursuant to 2003 DOL and 2004 DOE warrants should be suppressed; (2) whether information

favorable to the defense in the possession of the Council on Occupational Education (“COE”)

must be produced by the government pursuant to its Brady obligations; and (3) whether the visa

fraud count should be severed from this case, or, alternatively, whether Raykhman should be

severed.

        For the following reasons, defendants’ motions are denied in their entirety.

                                          BACKGROUND

        The charges in the Indictment relate to a not-for-profit vocational training school,

Centurion Professional Training (“Centurion” or “the school”), located in Brooklyn, New York.

The school was established in 1998 by defendant Lekhtman to provide business and computer

training courses. (Superseding Indictment dated August 14, 2008 (“Indict.”) ¶ 9; Koenig Decl. ¶

4–5.) Defendants Yelena Raykhman and Roman Dudkin were employed at Centurion.

        Centurion participated in two governmental financial aid programs: the federal Pell Grant

Program and the New York State Tuition Assistance Program (“TAP”). The federal Pell Grant

Program, administered and funded by the DOE, provided financial aid grants for eligible

students to help them pay for post-secondary education. The Pell Grants were transmitted

directly to the educational institution in which the students were enrolled, and did not need to be



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repaid by the student. (Indict. ¶ 1.) In order to participate in the Pell Grant program, an institution

was required to be accredited or approved by an appropriate agency,3 and offer a program

leading to an academic or professional degree, vocational certificate or other recognized

educational credential. (Id. ¶ 2.) The institution also had to enter into a Program Participation

Agreement with the DOE. The Program Participation Agreement conditioned participation on an

institution’s compliance with all applicable laws and regulations. Participating institutions were

required to document student attendance and ensure that a student receiving a Pell Grant was

enrolled in, and attending, an eligible program. (Id. ¶ 2.) Once the amount of a student’s Pell

Grant was determined, the educational institution applied for disbursement of funds from the

DOE, and drew down the disbursed funds in stages during the academic year. (Id. ¶ 4.)

Institutions were required to promptly refund Pell Grants to the DOE for students who withdrew

from school. (Id. ¶ 5.)

       The TAP Program, administered by the New York State Higher Education Services

Corporation (“NYHESC”), is a state program providing need-based grants to eligible post-

secondary students that the students do not need to repay. (Id. ¶¶ 6, 8.) The TAP program is

partially funded by the DOE. (Id. ¶ 6.) Like the federal Pell Grant program, in order for an

institution to participate in the TAP program, the institution was required to obtain accreditation

or approval by an appropriate agency, and offer a program leading to a recognized educational

credential. In addition, the institution had to enter into an Agreement to Participate with the




       3
         The Council on Occupational Education is one such agency. See U.S. Department of
Education List of Regional and National Institutional Accrediting Agencies, available at
http://www.ed.gov/admins/finaid/accred/accreditation_pg7.html#RegionalInstitutional. The COE
granted Centurion candidacy accreditation status in November 2002, and full accreditation status
in June 2004. (Koenig Decl. ¶¶ 9–10.)
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NYSHESC. (Id. ¶ 7.) Only students enrolled in and attending an eligible program at a

participating institution were eligible to receive TAP grants. (Id. ¶ 8.)

       In October 2002, Centurion entered into a Program Participation Agreement with the

NYHESC that enabled it to participate in the TAP program. (Id. ¶ 12.) On March 17, 2003, the

DOE certified Centurion as eligible to participate in financial aid programs, including the Pell

Grant Program, for eligible students in its Computer Programming/Client Server Technology

Program (Koenig Decl. ¶ 11 & Ex. C). On March 27, 2003, Centurion entered into a Program

Participation Agreement with the DOE, enabling it to participate in the Pell Grant Program.

(Koenig Decl. ¶ 13 & Ex. C; Indict. ¶ 12.) On May 29, 2003, Centurion received approval from

the DOE to receive Pell funds for its Business Office Management Program. (Koenig Decl. ¶ 14

& Ex. C.)

       On November 6, 2003, agents from the DOL executed a search warrant at Centurion.

According to the 2003 DOL warrant’s supporting affidavit, the warrant was obtained pursuant to

a DOL investigation into allegations that Centurion had fraudulently obtained federal funds

provided under the Workforce Investment Act of 1998 (“WIA”), and fraudulently sponsored

individuals for H1B1 work visas. (Koenig Decl. Ex. D (“2003 Aff.”).) The execution of the

warrant resulted in the seizure of over 38,000 pages of documents, including all the student

academic, attendance, financial aid, and enrollment records Centurion was required to maintain

as a TAP and Pell fund recipient. (Omnibus Motion at 7.)

       On October 20, 2004, another warrant was executed at Centurion, this time by agents

from the DOE. The warrant was obtained pursuant to an independent DOE investigation into

allegations that Centurion had, inter alia, falsified its students’ records in order to fraudulently

obtain student aid funding. (Koenig Decl. Ex. G (“2004 Aff.”).) The execution of this warrant



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resulted in the seizure of thirty-eight boxes of paper documents, as well as computer hard drives

and other electronic storage media. (Omnibus Motion at 9; Koenig Decl. Ex. I.)

       On August 14, 2008, the government obtained a five-count superseding indictment

against the defendants, charging: (1) student aid fraud conspiracy; (2) student aid fraud; (3) theft

of DOE funds; (4) visa fraud conspiracy; and (5) theft of DOL funds. The Indictment alleges,

among other things, that defendants Lekhtman, Raykhman and Dudkin fraudulently obtained

TAP and Pell funds by: (1) causing Pell funds to be drawn down for students who were not

enrolled in and attending eligible courses at Centurion; (2) falsifying student attendance records

and enrollment agreements by adding false attendance hours and courses to student files; (3)

altering enrollment agreements; and (4) manipulating and falsifying other student records to

make it appear that students were enrolled in and attending eligible programs at Centurion when

in fact they were not. (Indict. ¶¶ 15–16.) The Indictment further alleges that defendants

Lekhtman, Dudkin and Benimetsky conspired to submit false and fraudulent statements to the

Immigration and Naturalization Service and DOL, claiming that Centurion sought to hire

individuals as, inter alia, a computer software engineer and a communications analyst, while

making false and fraudulent statements regarding: (1) the qualifications of the visa applicants;

(2) the wages that the visa applicants would earn; (3) the duties that the visa applicants would

perform; and (4) the location where the visa applicants would work. (Id. ¶¶ 22–27.)

       On September 8, 2009, defendants filed their Omnibus Motion. On October 10, 2009, this

case was reassigned to the undersigned from the late Honorable Charles P. Sifton, U.S. District

Judge. The court heard oral argument on the Omnibus Motion on November 18, 2009 and, as set




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forth above, ruled on certain issues on the record. The trial on the Indictment4 is currently

scheduled to begin on February 1, 2010.

                                          DISCUSSION

I.      Suppression of the Seized Items

        The defendants move to suppress: (1) all evidence obtained pursuant to the 2003 DOL

warrant or, in the alternative, seek disclosure of all the student records seized thereunder; and (2)

all evidence obtained pursuant to the 2004 DOE warrant or, in the alternative, seek disclosure of

all the student records seized thereunder. For the reasons set forth below, suppression is denied

in all respects.

        A.         The 2003 DOL Warrant

        Agents executing a search warrant are bound by the warrant’s scope. See Horton v.

California, 496 U.S. 128, 140 (1990) (noting that the scope of the search must be within “that

permitted by the terms of a validly issued warrant”). In interpreting a warrant’s scope, however,

agents “have some discretion” and their interpretation should be “commonsensical,” not “hyper-

technical.” United States v. Salameh, 54 F. Supp. 2d 236, 277 (S.D.N.Y. 1999), aff’d, 16 Fed.

Appx. 73 (2d Cir. 2001); see also United States v. Catapano, 2008 WL 3992303, at *3

(E.D.N.Y. Aug. 28, 2008) (noting that a broad interpretation of a search warrant as directed by

Salameh is proper and has the benefit of “providing the agents with the discretion necessary to

reasonably conduct a search involving fraud” and other crimes). Accordingly, whether agents



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          At the November 18, 2009 oral argument, the court was notified of the government’s
intent to file a second superseding indictment adding a forfeiture allegation and charging the
defendants with aggravated identity theft. (Oral Argument Tr. at 37.) The court set a deadline of
December 8, 2009 by which the government had to file its forthcoming second superseding
indictment. The government was also informed that failure to comply with this deadline would
cause the trial scheduled for February 1, 2010 to proceed on the superseding indictment of
August 14, 2008. (Oral Argument Tr. at 38-40; Docket Entry 59.)
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properly seized items pursuant to a search warrant is necessarily a fact-specific inquiry involving

a reasonable comparison of the warrant’s terms to the items seized.

       Nevertheless, “suppression of all evidence seized is not justified unless those executing

the warrant acted ‘in flagrant disregard’ of the warrant’s terms.” United States v. Matias, 836

F.2d 744, 747 (2d Cir. 1988) (citations omitted). “Government agents flagrantly disregard the

terms of a warrant so that wholesale suppression is required only when (1) they effect a

widespread seizure of items that were not within the scope of the warrant, and (2) do not act in

good faith.” United States v. Liu, 239 F.3d 138, 140 (2d Cir. 2000) (internal citations and

quotation marks omitted). Defendants claim that the seizure of student academic, attendance,

financial aid, and enrollment records amounts to a flagrant disregard of the 2003 DOL warrant’s

terms, thereby requiring the suppression of all the items seized pursuant to that warrant. As set

forth in more detail below, the student records fell within a reasonable and commonsensical

interpretation of the 2003 DOL warrant’s terms, and therefore, suppression (complete or

otherwise) is unwarranted.

       The probable cause underlying the issuance of the 2003 DOL warrant was based, in part,

on an alleged scheme to fraudulently obtain federal funds provided under the Workforce

Investment Act. The distribution of WIA funds is coordinated by state and local governments

through various “One-Stop Centers.” (Koenig Decl. Ex. D. ¶ 7.) The New York Association for

New Americans (“NYANA”) is a One-Stop Center under contract with the City of New York

Human Resources Administration (“HRA”) to assist in the distribution of WIA funds. (Id. ¶ 8.)

In order to obtain WIA funds for one of its students, a vendor (i.e., Centurion) would complete

and file a WIA Individual Training Application with NYANA. (Id. ¶ 9.) Case managers at

NYANA were tasked with verifying that WIA funds were authorized for disbursement via WIA



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payment vouchers. (Id. ¶ 10–13.) Once authorization was verified, WIA funds would be

dispersed as percentages of total tuition cost, at various stages of course completion. (Id. ¶ 9.)

The case managers were under a continuing duty to monitor the progress of aid recipients and to

ensure the propriety of the continued WIA voucher disbursements. (Id. ¶ 10.) According to the

affidavit filed in support of the 2003 DOL warrant, Lekhtman and Centurion fraudulently

obtained WIA funding through, among other means, the submission of fraudulent documents to

support issuance of the WIA vouchers, and the bribery of Bianka Veret, a case manager at

NYANA, so that Veret would not properly monitor the issuance of the vouchers. (Id. ¶ 12–13.)

       The 2003 DOL warrant authorized the seizure of, among other things: “[a]ny and all

documents, books, records, financial statements and supporting documents . . . relating to” WIA

vouchers. (Koenig Decl. Ex. E.) The student records were “related” to the WIA vouchers

because they were relevant to proving that the vouchers were fraudulently obtained. For

example, in order to remain eligible for the continued disbursement of WIA funds, students had

to meet certain training benchmarks throughout the course of their studies. (2003 Aff. ¶¶ 8, 10.)

Notably, for Centurion to remain eligible for WIA funds, it also had to submit program-specific

performance information showing, among other things, program completion rates and

information on program costs (e.g., tuition and fees). See 29 U.S.C. 2842(d). The 2003 DOL

warrant also authorized the seizure of “any . . . records relating to the preparation of” WIA

materials. (Koenig Decl. Ex. E.) The student records were relevant to the program information

that Centurion was required to prepare and submit to appropriate regulatory agencies, and were

also authorized for seizure on this basis. Thus, the student academic, attendance and enrollment

records were necessary to prove the allegation that Veret had not monitored the aid-receiving

students’ progress at Centurion.



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        Students were also ineligible for WIA funds if their financial needs were met by other

 funding sources, such as Pell grants and other state-based funding. See 20 C.F.R. 663.320

 (“Training providers must consider the availability of other sources of grants to pay for training

 costs such as . . . State-funded training funds, and Federal Pell Grants, so that WIA funds

 supplement other sources of training grants.”). Therefore, the student financial aid records were

 relevant to proving the alleged fraud because they were necessary to determine whether students

 were receiving funding that would disqualify them from receiving WIA vouchers. Accordingly,

 defendants’ argument is meritless; the student records fell within a reasonable interpretation of

 the 2003 DOL warrant’s terms.

        B.      The 2004 DOE Warrant

        Defendants also move for the suppression of all the evidence seized pursuant to the 2004

 DOE warrant on the grounds that the probable cause supporting its issuance was based on fruits

 of the illegally-executed 2003 DOL warrant (i.e., the student records). However, as discussed

 above, the student records were properly seized, and therefore, the defendants’ fruit of the

 poisonous tree argument is baseless. In any event, even assuming arguendo that the student

 records were impermissibly seized, suppression of all the items seized pursuant to the execution

 of the 2004 DOE warrant would not be warranted.

        There is no indication in the record that the 2004 DOE warrant was premised upon the

 fruits of the 2003 DOL warrant, and therefore, this argument is based upon nothing more than

 defendants’ conjecture. The affidavit filed in support of the 2004 DOE warrant makes absolutely

 no mention of the 2003 DOL search or any records seized pursuant to the search. In fact, the

 probable cause supporting the issuance of the 2004 DOE warrant appears to have developed

 through a wholly independent investigation, finding its genesis in a complaint made by a



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 Centurion student to the New York State Education Department (“NYSED”) in July 2003, before

 the 2003 DOL warrant was executed. (2004 Aff. ¶ 15.) Thereafter, NYSED initiated an

 investigation that led to the discovery of false student enrollment agreements at Centurion in

 October 2003, also before the 2003 DOL warrant was executed. (Id. ¶ 16–17.) Indeed, it appears

 that the DOE did not begin its own investigation into Centurion’s activities until after it received

 information from the NYSED in March 2004 about Centurion’s purported attempt to falsify

 records in an attempt to “deceive NYSED investigators, limit financial liabilities, and maintain

 their participation in federal and state financial assistance programs.” (Id. ¶ 18.) Accordingly,

 even if the student records were illegally seized, the items seized pursuant to the execution of the

 2004 DOE warrant would not be suppressed,5 and therefore, the motion to suppress or to disclose

 is denied.

 II.    Brady Materials

        Defendants argue that the government’s Brady obligations extend to information in the

 possession of the COE, a national accrediting agency that granted Centurion candidacy

 accreditation status. (Koenig Decl. ¶¶ 9–10.) The government counters that its Brady

 “obligations extend only to information in its files or in the possession of other government

 agencies that act on the government’s behalf in investigating or prosecuting a particular case.”

 (Gov’ts Opp’n at 18.)

        To constitute a violation of Brady, information must be “known to the prosecution, but

 unknown to the defense.” United States v. Agurs, 427 U.S. 97, 103 (1976). Thus, the prosecution

 is not required to disclose information of which it is unaware. United States v. Tillem, 906 F.2d

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          Contrary to defendants’ contention, the mere fact that evidence obtained pursuant to the
 2003 DOL and 2004 DOE warrants is being used in the same case is not dispositive, or even
 material, as to whether the items seized pursuant to the 2004 DOE warrant are tainted fruit of the
 2003 DOL warrant.
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 814, 824 (2d Cir. 1990). However, the Supreme Court has held that “the individual prosecutor

 has a duty to learn of any favorable evidence known to the others acting on the government’s

 behalf in the case . . . .” Kyles v. Whitley, 514 U.S. 419, 437 (1995). Thus, “a prosecutor has

 constructive knowledge of any information held by those whose actions can be fairly imputed to

 him—those variously referred to as an ‘arm of the prosecutor’ or part of the ‘prosecution team.’”

 United States v. Bin Laden, 397 F. Supp. 2d 465, 481 (S.D.N.Y. 2005) (citing United States v.

 Avellino, 136 F.3d 249, 255 (2d Cir. 1998)).

        Defendants cite no caselaw that would support the extension of the prosecution’s Brady

 obligations to information in the possession of the COE, a not-for-profit, private accrediting

 organization. Moreover, nothing in the record indicates that the COE investigated defendants or

 Centurion on behalf of the prosecution, or that it was in any way involved with the prosecution’s

 case. See Bin Laden, 397 F. Supp. 2d at 481–82 (“At one end of the spectrum, it is clear that the

 investigating case agents on a particular prosecution are part of the prosecution team; their

 possession of producible material is imputed to the prosecutor regardless of his actual

 knowledge. . . . At the other end of the spectrum, government agents of a separate sovereign who

 are wholly uninvolved in the investigation being prosecuted are clearly not part of the

 prosecution team.”).   Accordingly, the government has no duty to learn of any favorable

 evidence known to the COE. The appropriate avenue for obtaining such evidence, to the extent it

 exists, is by subpoena pursuant to Federal Rule of Criminal Procedure 17(c).

 III.   Severance

        Defendants jointly seek to sever the visa fraud conspiracy count or, in the alternative,

 Raykhman moves to be severed as she is the only defendant not charged with that count.




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        Federal Rule of Criminal Procedure 14(a) allows the court to “order separate trials of

 counts, [or] sever the defendants’ trials” if it appears that a defendant is prejudiced by the

 joinder. That decision is within the “sound discretion” of the district court. United States v.

 Lasanta, 978 F.2d 1300, 1306 (2d Cir. 1992). “There is a preference in the federal system for

 joint trials of defendants who are indicted together” because, in general, they promote efficiency

 and serve the interests of justice. Zafiro v. United States, 506 U.S. 534, 537 (1993); see also

 United States v. Cardascia, 951 F.2d 474, 483 (2d. Cir. 1991) (noting that the risk of some slight

 prejudice to codefendants is deemed outweighed by concerns for judicial economy, the risk of

 inconsistent verdicts resulting from separate trials, and the favorable position that later-tried

 defendants obtain from familiarity with the prosecution’s strategy). In order to succeed on a

 motion for severance, a defendant must show that the prejudice from a joint trial “is sufficiently

 severe to outweigh the judicial economy that would be realized by avoiding multiple lengthy

 trials.” United States v. Walker, 142 F.3d 103, 110 (2d Cir. 1998); see also United States v.

 Sampson, 385 F.3d 183, 190 (2d Cir. 2004) (“in order to prevail, the defendant must show not

 simply some prejudice but substantial prejudice”) (internal quotation marks and citation

 omitted).

        A.      Severance of the Visa Fraud Conspiracy Count

        In support of severance, defendants argue in a conclusory fashion that they will be

 prejudiced because the immigration issues related to the visa fraud conspiracy count are

 politically and emotionally charged and, therefore, the jury will be unable to fairly determine

 defendants’ guilt on the remaining counts. These concerns are entirely speculative. Nevertheless,

 these concerns can be satisfactorily addressed by an instruction to the jury that each defendant

 must be considered separately as to each count in which s/he is named, and that neither the



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 nature of the visa fraud conspiracy count, nor the evidence related solely to that count, has any

 bearing on a defendant’s guilt as to the remaining counts. See United States v. Feyrer, 333 F.3d

 110, 114 (2d Cir. 2003) (noting that even in situations where the risk of prejudice is high, less

 drastic measures, such as limiting instructions, often suffice). It is well settled that juries are

 presumed to be capable of following a judge’s instructions in sorting out what evidence bears on

 the guilt of any single defendant. See Zafiro, 506 U.S. at 540 (quoting Richardson v. Marsh, 481

 U.S. 200, 211 (1987)). The court finds that such instructions are sufficient to address the

 purported prejudice, and therefore, severance is unnecessary.

         Proceeding with a joint trial is especially appropriate in the case at bar because all of the

 counts charged against the defendants were allegedly perpetrated in similar fashion (i.e., by the

 submission of fraudulent documents to the United States government) and allegedly arise out of

 an overall scheme or plan of significant fraudulent activity related to Centurion (and other

 entities operating out of the same location). See United States v. Girard, 601 F.2d 69, 72 (2d Cir.

 1979) (“Where, as here, the crime charged involves a common scheme or plan, a joint trial of the

 participants is proper, absent a clear showing of prejudice.”) (citations omitted). Additionally, it

 is evident that there will be a substantial overlap between the witnesses and documents presented

 in furtherance of proving the visa fraud conspiracy count and the remaining counts. Thus,

 judicial economy would be greatly facilitated by having the counts litigated in a single

 proceeding rather than multiple proceedings. Accordingly, defendants’ motion to sever the visa

 fraud conspiracy count is denied. Defendants have failed to make a showing that purported

 prejudice is sufficiently severe to outweigh the judicial economy that would be realized by a

 single trial.




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         B.     Severance of Defendant Raykhman

         Defendant Raykhman alleges that because she is the only defendant who is not charged

 with the visa fraud conspiracy, a joint trial would be highly prejudicial to her right to a fair trial

 and would prevent the jury from reaching a fair verdict on the charges against her. Raykhman

 again relies on the allegedly inflammatory nature of the visa fraud evidence to justify severance.

 As noted above, defendant’s argument that the nature of the visa fraud conspiracy will cause

 prejudice is entirely speculative, and, in any event, any prejudice can be cured by a limiting

 instruction. The jury will be instructed that: (1) it must give separate consideration to each

 individual defendant; (2) it must separately consider each charge against each individual

 defendant; and (3) each individual defendant is entitled to have his or her case determined from

 his or her own conduct and the evidence applicable to him or to her. Zafiro, 506 U.S. at 541.

 Moreover, ordering the severance of Raykhman would: (1) constitute a significant duplication of

 court resources; (2) require witnesses to repeat the inconvenience of testifying; and (3) possibly

 favor Raykhman by affording her the advantage of knowing the prosecution’s case beforehand.

 Accordingly, judicial economy favors a joint trial and Raykhman’s severance motion is denied.

                                           CONCLUSION

         For the reasons set forth above, defendants’ remaining motions are denied in their

 entirety.



 SO ORDERED.

 Dated: Brooklyn, New York
        December 15, 2009
                                                                          /s/
                                                               DORA L. IRIZARRY
                                                             United States District Judge


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